     Case 1:21-cv-00359-BLW         Document 178   Filed 01/22/25   Page 1 of 12




                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO


  GERALD ROSS PIZZUTO, JR.,
                                              Case No. 1:21-cv-00359-BLW

         Plaintiff,                           MEMORANDUM DECISION AND
                                              ORDER
         v.

  JOSH TEWALT, Director, Idaho
  Department of Correction, in his official
  capacity, TIMOTHY RICHARDSON,
  Warden, Idaho Maximum Security
  Institution, in his official capacity,

         Defendants.



                                   INTRODUCTION

      Before the Court is Plaintiff’s Seventh Motion to Compel Discovery and for

Leave to Serve Additional Interrogatories (Dkt. 155). For the reasons described

below, the Court will partly grant and partly deny the motion.


                                    BACKGROUND

       The facts of this case are familiar and need not be repeated here in detail.

Plaintiff Gerald Ross Pizzuto, Jr. brought this lawsuit in 2021 to challenge the

Idaho Department of Correction’s (IDOC) plan to execute him using pentobarbital.

He argues that pentobarbital execution is unconstitutionally cruel and unusual as



MEMORANDUM DECISION AND ORDER - 1
     Case 1:21-cv-00359-BLW       Document 178      Filed 01/22/25   Page 2 of 12




applied to him due to his various medical conditions and systemic flaws with

IDOC execution protocols.

      Discovery commenced in October 2022 and was originally scheduled to

conclude in January 2023. These deadlines were repeatedly extended due to the

parties’ need to litigate a myriad of discovery conflicts. One of those conflicts is

currently before the Ninth Circuit, and this Court has stayed the litigation

deadlines, as well as the underlying Discovery Order, until the disposition of the

appeal. See Dkt. 150. In the meantime, discovery disputes have continued to

accumulate, some related to the order on appeal and some posing their own novel

questions. The IDOC’s unsuccessful attempt to execute Thomas Creech on

February 28, 2024, using the same execution protocols at issue here, has added

another layer of factual complexity to Pizzuto’s case.

      The current dispute concerns Pizzuto’s interrogatories. Under the parties’

stipulated discovery plan, and consistent with Federal Rule of Civil Procedure

33(a)(1), each party is permitted twenty-five interrogatories. The Court previously

granted Pizzuto leave to serve an additional two interrogatories. Then, in May

2024, Pizzuto served his Sixth Set of Interrogatories, which are now at issue. After

Defendants objected, Pizzuto moved to compel a response to Interrogatory Nos.

32, 35, and 36. Pizzuto also seeks leave to serve an additional fifteen

interrogatories related to Creech’s attempted execution.



MEMORANDUM DECISION AND ORDER - 2
     Case 1:21-cv-00359-BLW       Document 178       Filed 01/22/25   Page 3 of 12




      Complicating things, there seems to be a mix-up with the interrogatory

numbers. Defendants’ response to the Sixth Set of Interrogatories refers to

Interrogatory No. 34 as No. 33, and the subsequent numbers are each off by one.

See Ex. 1, Dkt. 155-2. Pizzuto’s Motion to Compel, in turn, uses Defendants’

numbering rather than that of the original interrogatories, while Defendants’

response brief draws from both sets of numbers. This has resulted in a

misalignment between the parties’ briefing. Based on the original interrogatory

numbers—which this opinion will utilize going forward—Pizzuto seeks to compel

a response to Interrogatory Nos. 32, 36, and 37, while Defendants address Nos. 32,

35, and 37.

      These concern, respectively, the revision of the IDOC’s execution protocol

(No. 32), the use of dopamine at Creech’s execution (No. 35), the renovation of the

execution facilities (No. 36), and the execution team’s experience with central lines

(No. 37). Specifically, the interrogatories state:

      32. Describe the anticipated timeline for the revision of SOP 135, as
      well as the plan and process for consulting on the revisions. Please
      include details not limited to: which kinds of professionals will be
      consulted, whether independent experts will be reviewing the
      protocol, and whether independent experts will be reviewing the
      details of the Creech Execution.

      35. Explain what, if anything, occurred at or in preparation for the
      Creech Execution with respect to dopamine, including but not limited
      to whether there was an attempt to administer it, how much was
      attempted to be administered or actually administered, for what
      purpose it was used or considered, and so forth.


MEMORANDUM DECISION AND ORDER - 3
     Case 1:21-cv-00359-BLW       Document 178      Filed 01/22/25   Page 4 of 12




      36. Describe any efforts related to the renovation of IMSI’s execution
      facilities undertaken after February 28, 2024 or contemplated for the
      future, including but not limited to the purpose and nature of the work,
      the anticipated timeline for its completion, and so forth.

      37. Outline all experience, qualifications, training, licensure,
      certifications, and so forth that each member of the Medical Team has
      with respect to Central Lines, in the medical and/or execution settings.

Ex. B at 4-5, Dkt. 156-3.

      Defendants objected to each as “beyond the scope of Federal Rule of Civil

Procedure 33(a)(1) and the parties’ Discovery Plans.” Id. Defendant Tewalt also

objected under Rule 26(b)(1) “on grounds that the Interrogatory creates an undue

burden on the IDOC, is not relevant to Plaintiff’s claims, and is not proportional to

the needs of the case.” Id. Defendants also oppose Pizzuto’s request for fifteen

additional interrogatories.


                               LEGAL STANDARD

      Under Federal Rule of Civil Procedure 33, a party is presumptively

restricted to twenty-five interrogatories. The aim of this limitation “is not to

prevent needed discovery, but to provide judicial scrutiny before parties make

potentially excessive use of this discovery device.” Fed. R. Civ. P. 33, advisory

committee notes to 1993 amendments. Thus, “[l]eave to serve additional

interrogatories may be granted to the extent consistent with Rule 26(b)(1) and (2).”

Fed. R. Civ. P. 33(a)(1). The moving party, however, must “make a ‘particularized


MEMORANDUM DECISION AND ORDER - 4
     Case 1:21-cv-00359-BLW       Document 178      Filed 01/22/25    Page 5 of 12




showing’ as to why additional discovery is necessary.” Stephenson v. Clendenin,

No. 2:22-CV-01521-DAD, 2024 WL 2924687, at *1 (E.D. Cal. May 14, 2024)

(quoting Archer Daniels Midland Co. v. Aon Risk Services, Inc. of Minn., 187

F.R.D. 578, 586 (D. Minn. 1999)).

      Rule 26(b)(1), in turn, provides a list of factors for courts to consider in this

analysis. These include the importance of the issues at stake in the case; the

amount in controversy; the parties’ relative access to relevant information; the

parties’ resources; the importance of the discovery in resolving the issues; and

whether the burden or expense of the proposed discovery outweighs its likely

benefit. Conversely, discovery must be limited under Rule 26(b)(2) if

“unreasonably cumulative or duplicative” or if the party “has had ample

opportunity to obtain the information.” Ultimately, after reviewing these factors,

the Court has discretion to determine whether a party has justified the additional

interrogatories. See Schuman v. IKON Office Sols., Inc., 232 Fed. Appx. 659, 664

(9th Cir. 2007).


                                     ANALYSIS

      Discovery in this case has been underway for more than two years. During

that time, the factual underpinnings to Pizzuto’s case have changed significantly

due to events at the IDOC. In particular, the attempt to execute Creech in February

2024 and the subsequent changes to Idaho’s execution protocol have materially


MEMORANDUM DECISION AND ORDER - 5
     Case 1:21-cv-00359-BLW       Document 178      Filed 01/22/25    Page 6 of 12




altered the evidence that Pizzuto needs to make his case. Pizzuto obviously could

not have anticipated the importance of this information in advance. Nor, given the

frequent deadline changes, could he be expected to have strategically reserved

interrogatories in case such developments occurred.

      Against this backdrop, Pizzuto has shown a particularized need to serve

Interrogatory Nos. 32, 36, and 37. The Court is not persuaded, however, that

fifteen further interrogatories are warranted.

   1. Interrogatory No. 32

      Interrogatory No. 32 is about the IDOC’s revisions to its execution protocol.

Pizzuto challenges the IDOC’s plan to execute him, so changes to the protocol

obviously bear on his claim. For example, the process for revising the execution

protocol could provide information about the IDOC’s ability to address the sorts of

vein access complications that occurred at Creech’s attempted execution, and

which could potentially cause Pizzuto severe pain. As far as the other Rule 26(b)

factors: the issue at stake is Pizzuto’s possible torturous death; his access to

information has been significantly limited by IDOC secrecy interests; the burden

on Defendants of providing the information here is minimal; the discovery is not

duplicative; and Pizzuto could not have acquired this information earlier because

he only learned of the revision process in April 2024.




MEMORANDUM DECISION AND ORDER - 6
     Case 1:21-cv-00359-BLW       Document 178     Filed 01/22/25   Page 7 of 12




      Defendants respond that Interrogatory No. 32 is not relevant because Pizzuto

may be executed under a different version of this protocol. “May” does a great deal

of work in this argument, and it is not up to the task. The IDOC’s execution

protocol is being litigated right now. That the protocol could hypothetically change

in the future does not render the current version irrelevant. To adopt this principle

would effectively prevent the litigation of method-of-execution claims until the

eleventh hour, placing needless strain on judicial resources and impeding the

thoughtful resolution of these challenging cases. The Court declines to endorse

such an approach.

      As a result, the Court will grant Pizzuto leave to serve Interrogatory 32 and

compel Defendants to respond.

   2. Interrogatory No. 35

      Interrogatory No. 35 seeks information about the administration of

dopamine during Creech’s execution. But, as explained above, Pizzuto does not

actually seek to compel a response to this interrogatory. It is obvious from the

content of the Motion to Compel that Interrogatory No. 36 is the one at issue. See

Pl.’s Brief Regarding Leave to Serve Additional Interrogs. at 2, 4-5, Dkt. 155-1.

The error appears to stem from Defendants’ misnumbering of the interrogatory

responses, which cascaded into the briefing. See Ex. 1, Dkt. 155-2. Therefore, the

Court will disregard this interrogatory.



MEMORANDUM DECISION AND ORDER - 7
     Case 1:21-cv-00359-BLW       Document 178     Filed 01/22/25   Page 8 of 12




   3. Interrogatory No. 36

      Interrogatory No. 36 concerns the renovation of the execution facilities after

Creech’s attempted execution. Here again, the numbering of the interrogatories is a

problem. Pizzuto refers to this as Interrogatory No. 35 but clearly briefs No. 36.

Defendants, on the other hand, refer to Interrogatory No. 36 but appear to brief No.

37. See Defs’ Opp’n to Pl.’s Seventh Mot. to Compel at 5, Dkt. 156. The Court is

uncertain why the parties did not try to resolve this obvious misunderstanding. But,

because the error originated with Defendants, and because Defendants could easily

have detected and addressed the problem, the Court will rule on Interrogatory No.

36 based on existing briefing.

      This information is highly relevant because the physical layout of the

execution chamber is a component of Pizzuto’s claim. The renovation is a recent

development, so Pizzuto could not have sought this information earlier. And as

with Interrogatory No. 32, the other Rule 26(b) factors weigh in Pizzuto’s favor:

the issues are gravely important, Pizzuto has limited access to information, and the

burden on Defendants is minimal. Accordingly, the Court finds that there is good

cause to serve Interrogatory No. 36 and will compel Defendants to respond.

   4. Interrogatory No. 37

      Interrogatory No. 37 addresses the Medical Team’s experience with central

lines. Potential complications with a central line execution are an explicit aspect of



MEMORANDUM DECISION AND ORDER - 8
     Case 1:21-cv-00359-BLW      Document 178      Filed 01/22/25   Page 9 of 12




Pizzuto’s complaint, making the information quite relevant. This is another area

impacted by the attempt to execute Creech, so Pizzuto did not previously have a

full opportunity to obtain the information. The remaining Rule 26(b) factors also

favor Pizzuto for the reasons already explained.

      Defendants contend that Pizzuto does not need this information “because

IDOC has an obligation to utilize qualified and competent personnel in all parts of

an execution.” Defs’ Opp’n to Pl.’s Seventh Mot. to Compel at 5, Dkt. 156. This is

silly. Defendants cannot defeat Pizzuto’s claim that their execution procedures will

violate the Constitution by pointing out that they have an obligation to follow the

Constitution. And the substantive merits of Pizzuto’s prospective Eighth

Amendment arguments are not at issue here. The question is not whether he has a

winning constitutional claim, but whether he has shown good cause for additional

discovery. He has, and the Court will compel Defendants to respond to

Interrogatory No. 37.

   5. Leave to Serve Fifteen Additional Interrogatories

      Finally, Pizzuto seeks to serve an additional fifteen interrogatories “on any

factual areas implicated by the events of February 28, 2024 or those that flowed

from them.” Pl.’s Brief in Supp. of Mot. for Additional Interrogs. at 5, Dkt. 155-1.

He does not describe the specifics of the interrogatories sought but argues that

Creech’s botched execution has necessitated substantial additional discovery and



MEMORANDUM DECISION AND ORDER - 9
    Case 1:21-cv-00359-BLW       Document 178      Filed 01/22/25    Page 10 of 12




that this approach will avoid “piecemeal litigation.” Id. Defendants object that this

brief explanation fails the “particularized showing” requirement of Rule 33.

      First off, it is not entirely clear what a “particularized showing” entails. The

standard is somewhat higher than “good cause”—which governs requests for

additional interrogatories by pro se plaintiffs—but the Court has not found any

case law suggesting that a party must go so far as to provide proposed

interrogatories. See Forster v. Clendenin, No. 1:22-cv-01191, 2024 WL 2786772,

at *2 (E.D. Cal. May 30, 2024). The point of Rule 33’s presumptive cap is to

prevent discovery abuses, not to block parties from obtaining necessary

information. Id. As the Advisory Committee explained, “[i]n many cases, it will be

appropriate for the court to permit a larger number of interrogatories.” Fed. R. Civ.

P. 33, advisory committee notes to 1993 amendments.

      Nonetheless, the Court concludes that Rule 33(a)(1) requires represented

parties to provide a specific justification for each additional interrogatory. This

need not be a full draft of the interrogatory, but the Court must have sufficient

information to weigh the Rule 26(b) factors with particularity. For example, a party

must explain the specific subject matter—not just a general topic—and the reasons

why a particular number of additional interrogatories are needed. This approach

reflects the principles of discovery articulated in Rule 26 and the broader

imperative to obtain the “just, speedy, and inexpensive” resolution of legal actions.



MEMORANDUM DECISION AND ORDER - 10
    Case 1:21-cv-00359-BLW        Document 178     Filed 01/22/25      Page 11 of 12




See Fed. R. Civ. P. 1.

      Evaluated by this standard, Pizzuto has not justified fifteen additional

interrogatories. Creech’s botched execution and the resulting developments at the

IDOC do warrant further discovery, and that is why the Court granted leave to

serve Interrogatory Nos. 32, 36, and 37. But, it is impossible to evaluate the need

for fifteen more interrogatories without any details about what they would contain.

This lack of information also renders it impossible for Defendants to determine the

burden such queries would pose. Further, while the Court shares Pizzuto’s desire to

avoid piecemeal litigation, allowing such a broad and vague expansion to

discovery will simply defer, rather than prevent, further conflicts.

      For these reasons, the Court will deny Pizzuto’s request for leave to serve

fifteen additional interrogatories.




                                      ORDER

      IT IS ORDERED that:

      1. Plaintiff’s Seventh Motion to Compel Discovery and for Leave to

          Serve Additional Interrogatories (Dkt. 155) is GRANTED IN PART

          and DENIED IN PART, as follows.

             a. Plaintiff is GRANTED leave to serve Interrogatory Nos. 32, 36,

                 and 37, and Defendants are ordered to respond.


MEMORANDUM DECISION AND ORDER - 11
   Case 1:21-cv-00359-BLW     Document 178      Filed 01/22/25   Page 12 of 12




          b. Plaintiff’s request for leave to serve an additional fifteen

             interrogatories is DENIED.



                                           DATED: January 22, 2025


                                           _________________________
                                           B. Lynn Winmill
                                           U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 12
